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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

MATT RHOADES, TRUSTEE AND INDIANA                           )
STATE COUNCIL OF PLASTERERS AND CEMENT                      )
MASONS HEALTH AND WELFARE AND PENSION                       )
FUNDS,                                                      )
                                                            )
                             Plaintiffs,                    ) No. 1:25-cv-0686
                                                            )
                      v.                                    )
                                                            )
GIBRALTAR CONSTRUCTION CORP., an Indiana                    )
corporation,                                                )
                                                            )
                             Defendant.                     )

                                           COMPLAINT

       Plaintiffs, by their attorneys, DONALD D. SCHWARTZ and ARNOLD AND KADJAN,

LLP, complain against Defendant, GIBRALTAR CONSTRUCTION CORP., as follows:

                                JURISDICTION AND VENUE

       1.     (a)     Jurisdiction of this cause is based upon Section 502 of the Employee

Retirement Income Security Act of 1974, 29 U.S.C. Section 1132 ("ERISA") and 29 U.S.C. 1145

as amended.

              (b)     Venue is founded pursuant to 29 U.S.C. Section 1132(e) (2) in this district,

where the Funds as described in Paragraph 2, are administered and 29 U.S.C. Section 185(c).

                                            PARTIES

       2.     (a)     The Plaintiffs in this count are MATT RHOADES, TRUSTEE AND

INDIANA STATE COUNCIL OF PLASTERERS AND CEMENT MASONS HEALTH AND

WELFARE AND PENSION FUNDS, (“the Funds”), and have standing to sue pursuant to 29

U.S.C. Section 1132(d)(1).

              (b)     The Funds have been established pursuant to collective bargaining

agreements previously entered into between the Cement Masons Union Local 692 and certain
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employer associations whose employees are covered by the collective bargaining agreement with

the Union.

(c)    The Funds are maintained and administered in accordance with and pursuant to the

provisions of the National Labor Relations Act, as amended, and other applicable state and

federal laws and also pursuant to the terms and provisions of the agreements and Declarations of

Trust which establish the Funds.

       3.      GIBRALTAR CONSTRUCTION CORP., (hereafter “GIBRALTAR”) is an

Indiana for profit domestic corporation.

       4.      Since June 2, 2005, GIBRALTAR has entered into successive collective

bargaining agreements with Local 692 pursuant to which it is required to pay specified wages

and to make periodic contributions to the Fund on behalf of certain of its employees. (Exhibit A).

       5.      (a)     GIBRALTAR employs employees and is bound to make contributions to

Plaintiffs for hours worked by all bargaining unit employees and upon subcontractors who

perform work which would otherwise be performed by employees.

               (b)     GIBRALTAR has its principal place of business in Indianapolis, Indiana.

               (c)     GIBRALTAR is an employer engaged in an industry affecting commerce.

       6.      By virtue of certain provisions contained in the collective bargaining agreements,

GIBRALTAR is bound by the Trust Agreement establishing the Funds.

       7.      Under the terms of the collective bargaining agreements and Trust Agreements to

which it is bound, GIBRALTAR is required to make contributions to the Funds on behalf of its

employees and, when given reasonable notice by Plaintiffs or their representatives, to submit all

necessary books and records to Plaintiffs’ accountant for the purpose of determining whether or

not it is in compliance with its obligation to contribute to the Funds.

       8.      Plaintiffs are advised and believe that from October 1, 2014 through December


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31, 2019, GIBRALTAR has failed to make some of the contributions from time to time required

to be paid by it to the Funds pursuant to the terms of the Trust Agreements by which it is bound,

all in violation of its contractual obligations and its obligations under applicable state and federal

statutes in the amount of $125,896.24 plus late charges and audit costs.

       9.      On information and belief, Plaintiffs alleged that Gibraltar owes additional

amounts for the period January 1, 2020 through present.

       WHEREFORE, Plaintiffs pray for relief as follows:

       A.      GIBRALTAR be ordered to submit to an audit for January 1, 2020 to present.

       B.      Judgment be entered on any amounts found to be due on the audit and for

amounts due on the prior audit.

       C.      Plaintiffs be awarded their costs herein, including reasonable attorneys’ fees and

costs incurred in the prosecution of this action, together with liquidated damages in the amount

of 20%, all as provided in the applicable agreements and ERISA Section 502(g)(2).

       D.      GIBRALTAR be enjoined from violating the terms of the collective bargaining

agreements and Trust Agreements by failing to make timely payments to the Funds and be

ordered to resume making those payments.

       E.      This Court grant Plaintiffs such other and further relief as it may deem

appropriate under the circumstances.

                                       Respectfully submitted,
                                       MATT RHOADES, et al.

                                       By:     /s/ Donald D. Schwartz
                                               Donald D. Schwartz
                                               One of their Attorneys

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